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A0245B        (Rev. 09/1 l) Judgment in a Criminal Case
              Sheet I


                                          UNITED STATES DISTRICT COU~T                                               JUL 2 9 2015
                                                            Eastern District of Arkansas                   By:ME~K
                                                                          )                                                           D PCLERK
              UNITED STATES OF AMERICA                                    )       JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                     Kathy Jane Foreback                                  )
                                                                          )       Case Number: 4:14-cr-5-DPM-5
                                                                          }       USM Number: 28580-009
                                                                          )
                                                                          )

THE DEFENDANT:
-'pleaded guilty to count{s)           1 of the Superseding Information

0 pleaded nolo contendere to count(s)                 __________________________________
                                                      ,


  which was accepted by the court.
0 was found guilty on count(s}          -~---,---


  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended
21 u.s.c. §§ 841(a)(1}             Conspiracy to Distribute and to Possess with Intent to

& (b)(1 )(C} & 846                 Distribute Methamphetamine, a Class C Felony                             11/30/2013                   1



       The defendant is sentenced as provided in pages 2 through          __7_____ ofthisjudgment. The sentence is imposed pursuantto
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
!i(count(s)     1 & 6 of th~ Sup. lndic~me~t___ D is              ij{are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this distri.ct within 30 days ofany chan_ge ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. lfordered to pay restitution,
the defenoant must notify the court and United States attorney of material clianges in economic circumstances.
                                                                           7/24/201 t;·
                                                                          D.ate offmposition of Judgment




                                                                           D.P. Marshall Jr.                           U.S. District Judge
                                                                          Nrunc and Title of Judge.

                                                                          Da(e
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AO 245B     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - Imprisonment
                                                                                                                  2_ of
                                                                                                  Judgment- Page __          7
DEFENDANT: Kathy Jane Foreback
CASE NUMBER: 4:14~cr-5-DPM-5


                                                              IMPRISONMENT

          The defendant is hereby committed to the custody of the United State.s Bureau of Prisons to be imprisoned for a
 total tenn of:
  36 months.




    ~ The court makes the following recommendations to the Bureau of Prisons:

 1) that Foreback participate in a residential drug abuse program, or non-residential programs if she does not qualify for
 RDAP;
 2) that Foreback participate in educational and vocational programs; (continued on next page)

    ~ The defendant is remanded to the custody of the United States Marshal.

    O The defendant shall surrender to the United States Marshal for this district:
          D at                                       0 a.m.    0 p.m.     on
          D as notified by the United States Marshal.
    O The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          0 before 2 p.m. on
          0 as notified by the United States Marshal.
          D as notified by the PrC1bation or Pretrial Services Office.

                                                                 RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                      to
                                                                                           --------~--~--·             ·------
 a - - - - - - - - - · - - - - - - _ , with a certified copy of this judgm~t.



                                                                                               UNITED STATES MARSHAL


                                                                         By ~~-~-~---~--~-~
                                                                                 DEPUTY UNITED STATES MARSHAL
                  Case 4:14-cr-00005-DPM              Document 386           Filed 07/29/15        Page 3 of 7

AO 2458   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 2A - Imprisonment
                                                                                               Judgment-Page    .3   of _ .....   J ..
DEFENDANT: Kathy Jane Foreback
CASE NUMBER: 4:t4-cr-5-DPM-5

                                          ADDITIONAL IMPRISONMENT TERMS
 Recommendations to the Bureau of Prisons (continued):

 3) that Foreback participate in mental-health counseling during incarceration; and

 4) designation to FCl-Waseca, or the available facility closest to South Dakota, to facilitate family visitation.
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AO 2458       (Rev. 09111) Judgment in a Criminal Case
              Sheet 3-Superviscd Release
                                                                                                           Judgment-Page _ _  4_ of            7
DEFENDANT: Kathy Jane Foreback
CASE NUMBER: 4:14-cr-5-DPM-5
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a tenn of:
 3 years.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not com.mit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check. ifapplicable.)
~ The defendant shall not possess a firearm. ammunition, destructive device, or any other dangerous weapon. (Check. ifapplicable.)
riJ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)
         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, el seq.)
D        as direc~ed by the probation offi~er, the Bureal! of Prisons, or any state sex offender registration agency in which he or she. resides,
         works, 1s a student, or was convicted of a quahfymg offense. (Check, if applicable.)

D        The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    l)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defi::ndant shall work regularly at a lawful occupation, unless excu.sed by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shal1 notify the probation officer at least ten days. prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase; possess, use,· di!;tribqte, or administer any
          cdntrolled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any P.ersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 I 0)     the defendant shall ~nnit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contrabanCI observed in plain view of the probation officer;
 11 J      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12}      the d~f~ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          perm1ss1on of the court; and

 f3)      as di~ted by the probation officer, the defendant shall notify third parties of risks that may Qe occasioned by the defendant's criminal
          record or R:ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
                   Case 4:14-cr-00005-DPM               Document 386    Filed 07/29/15        Page 5 of 7
AO .245B   (Rev. 09/11) Judgment ill a Criminal C<!Se
           Sheet 3C - Su)l!:rvised Release
                                                                                          Judgment-Page    5    of _ _7_ _
DEFENDANT: Kathy .Jane Foreback
CASE NUMBER: 4:14·cr-5-DPM-5

                                           SPECIAL CONDITIONS OF SUPERVISION
 S1) Foreback shall participate, under the guidance and supervision of the probation officer, in a substance-abuse
 treatment program, which must include regular and random drug testing, and may include outpatient counseling,
 residential treatment, or both.

 S2) Foreback shall participate in mental-health counseling under the guidance and supervision of the probation officer.
 Foreback shall contribute to the costs of counseling based on her ability to pay.
                    Case 4:14-cr-00005-DPM                       Document 386            Filed 07/29/15          Page 6 of 7
AO 2458   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                         Judgment- Page   _...:.6_ of    7
DEFENDANT: Kathy Jane Foreback
CASE NUMBER: 4:14-cr-5-DPM·S
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                            Fine                                 Restitution
TOTALS            $ 100.00                                            $ 0.00                                $ 0.00



D The detennination of restitution is deferred until            ---
                                                                         . An Amended Judgment in a Criminal Case (AO 245CJ will be entered
     after such detennination.

D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     lfthe defendam makes apartial payment, each payee shall receive an approximately proportioned J?ayment, unless specified otherwise in
     the priorit:>:.order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                              Total Loss*         Restitution Ordered Priority or Percentage




TOTALS                              $ ---·· · - - - -0.00
                                                     -

D     Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than$2,500, unless the restitution or tine is paid in full before the
      fifteenth day after the da.te of the judgment, pursuant to 18 U.S.C. § 36l2(t), All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 I2(g).

O     The court ~termined that the defendant does not have the ability to pay interest and it is ordered that:
      O the interest requirement is waived for the              D fine    D restitution.
      D the interest requirement for the             0   fine    D restitution is modified as follows:


~ Findings for the total amount oflossesare required under Chapters 109A, I I 0, 11 OA, and l I3A of Title l8 for offenses committed on or after
September 13, 1994, but before April 23, 1996.                                                                                      ,
                     Case 4:14-cr-00005-DPM                      Document 386            Filed 07/29/15        Page 7 of 7
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                          Judgment- Page __   7_ of           7
DEFENDANT: Kathy Jane Foreback
CASE NUMBER: 4:14-cr-5-DPM-5

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties is due as follows:
A     ff/ Lump sum payment of$ 10_0_._o_o_____ due immediately, balance due
                 not later than                       ·-~---···. --~"   , or
                 in accordance           0    C,      0    D,    0        E,or     ~Fbelow;or

B     D Payment to begin immediately (may be combined with                       O C,   D D. or     D F below); or
C     O Payment in equal --··-···-- (e.g., weekly. monthly, quarterly) installments of $                      -----~-- over a period of
          - - - - - (e.g.. months or yea1·s), to commence               - - - - - (e.g.. 30 or 60 days) after the date of this judgment; dr
D     O Payment in equal                   . --- (e.g.. weekly. monthly. quarter(v) installments of $           over a period of
          - - - - - · · (e.g., months or years), to commence ______ (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or
E     D Payment during the term of supervised release will commence within      -~----- (e.g.. 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F     F/ Special instructions regarding the payment of criminal monetary penalties:
            If Foreback is unable to pay the special assessment immediately, then during incarceration she shall pay 50
            percent per month of all funds available to her until the assessment is paid in full.




Un less th.e court has expressly ordered otherwise. if this judgment imposes imprisonment, payment ofcriminal monet?JY penalties is due during
imprisonment. AU criminal monetary penalties, except those payments made througn tbe Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 0    Joint.and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The <lefendant shall pay the cost ofprosecution.

 D The defendant shall pay the following court cost(s):
 0    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Paymen~ shall be applied in _the foJ!ow,ing order: {l) ~sessment, (2) re~titutiqn principal, (3) restjtution interest, (4) tine principal,
 (S) fine mterest, (6) community res.titutton, (7) penalties, and (8) costs, mcludmg cost ofprosecuuon and court costs.                 ·
